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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

PEDRO GARCIA PENA,
Movant,
-against- 17-CR-3&3-1 (GBD)
UNITED STATES OF AMERICA, ORDER TO ANSWER, 28 U.S.C. § 2255
Respondent.

 

 

GEORGE B. DANIELS, United States District Judge:

The Court, having concluded that the motion brought under 28 U.S.C. § 2255 should not
be summarily dismissed as being without merit, hereby ORDERS that:

The Clerk of Court shall electronically notify the Criminal Division of the U.S.
Attorney’s Office for the Southern District of New York that this order has been issued.

Within sixty days of the date of this order, the U.S. Attorney’s Office shall file an answer
or other pleadings in response to the motion. Movant shall have thirty days from the date on
which Movant is served with Respondent’s answer to file a response. Absent further order, the
motion will be considered fully submitted as of that date.

All further papers filed or submitted for filing must include the criminal docket number

and will be docketed in the criminal case.

 

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GORGE B. DANIELS
United States District Judge

 
